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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −28)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 581 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


                 May 10, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                               MDL No. 2804



                  SCHEDULE CTO−28 − TAG−ALONG ACTIONS



 DIST      DIV.      C.A.NO.      CASE CAPTION


ALABAMA MIDDLE

 ALM         1       18−00433     Dale County, Alabama v. Purdue Pharma L.P. et al

GEORGIA MIDDLE

                                  COLUMBUS GEORGIA v. AMERISOURCEBERGEN
 GAM         4       18−00079     DRUG CORPORATION et al

MARYLAND

  MD         1       18−01215     Baltimore County v. Purdue Pharma L.P. et al

NEBRASKA

  NE         8       18−00180     Ponca Tribe of Nebraska v. McKesson Corporation et al
                                  County of Knox, State of Nebraska v. McKesson
  NE         8       18−00181     Corporation et al

NEW HAMPSHIRE

                                  City of Concord, New Hampshire et al v. Purdue
  NH         1       18−00328     Pharma L.P. et al
